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B104 (FORM 104) (08/07)

 

 

 

ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

John J. O'Neil, Jr., Chapter 7 Trustee for Holmes & Bahre
Paint & Body, lnc. f/k/a Ho|rnes & Bahre Paint & Body
Engineering, lnc.

On Deck Capital, lnc.

 

ATTORNEYS (F irm Name, Address, and Telephone No.)

Law Offices of Jetfrey Hellman, LLC, 195 Church St.,
10th Fl., New Haven, CT 06510 - 203-691-8762

ATTORNEYS (lf Known)

 

PARTY (Check One Box Only)

i:i Debtor m U.S. Trustee/Bankruptcy Admin
i:i Creditor i:i Other
@(Trustee

 

PARTY (Check One Box Only)

m Debtor l:l U.S. Trustee/Bankruptcy Admin
i:i Creditor N Other
ij Trustee

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

This action is being brought pursuant to 11 U.S.C. §§549 to avoid transfers and 11 U.S.C. §550 to recover

property transferred and to disallow claims.

 

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as l, first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) - Recovery of Money/Property
[:i ll-Recovery of money/property - §542 turnover of property
i:i 12-Recovery of money/property - §547 preference
i:i l3-Recovery of money/property - §548 fraudulent transfer
Ei l4-Recovery of money/property - other

FRBP 7001(2) - Validity, Priority or Extent of Lien
ZI-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) - Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) - Ohjection/Revacation of Discharge
i:i 4l~Objection / revocation of discharge a §727(c),(d),(c)

FRBP 7001(5) - Revocation of Confn'mation
5 l-Revocation of confirmation

FRBP 7001(6) - Dischargeability
i.:i 66-Dischargeability ~ §523(a)(l),(14),(l4A) priority tax claims
i:i 62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud
[i 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) - Dischargeability (continued)

E] 61~Dischargeability - §523(a)(5), domestic support

E] 68~Dischargeability - §523(a)(6), willful and malicious injury

[:] 63-Dischargeability - §523(a)(8), student loan

i:i 64-Dischargeability ~ §523(a)(15), divorce or separation obligation
(other than domestic support)

l:l 65-Dischargeabiiity - other

FRBP 7001(7) - Injunctive Relief
7l-Injunctive relief ~ imposition of stay
i_:i 72-Injunctive relief - other

FRBP 7001(8) Subordination of Claim or Interest
81~Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
9 l -Declaratory judgment

FRBP 7001(10) Determination of Removed Action
OI~Determination of removed claim or cause

Other

i:i SS-SIPA Case- 15 U.S.C. §§7Saaa et.seq.

i:] OZ-Other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

 

m Check if this case involves a substantive issue of state law

i:i Check if this is asserted to be a class action under FRCP 23

 

i:l Check if a jury trial is demanded in complaint

 

Demand $ 5,148.16

 

 

Other Relief Sought

 

 

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BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEED!NG ARISES

 

 

 

 

 

 

 

 

 

 

 

 

NAME OF DEBTOR Holmes & Bahre Paint & Body, lnc. f/l</a BANKRUPTCY CASE NO.

H . . . 15-21045 (JJT)

olmes & Bahre Paint & Body Engineering, lnc.
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Connecticut Hartford James J. Tancredi
RELATED ADVERSARY PR()CEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR TlF )
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)

Jeffrey Hellman, Attorney for John J. O'Neil, Jr.
Chapter 7 Trustee for the Estate of Holmes &
Bahre Paint & Body, lnc.

June7,/ 17

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. lf such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintit`fs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

 

